This is a companion case to Whiffin v. Union Pacific RailroadCompany et al., 60 Idaho 141, 89 P.2d 540, the only difference being that herein Mrs. Evans was a guest in the automobile. No separate briefs were filed or assignments of error furnished, and, counsel being willing to let this case rest entirely upon the disposition of Whiffin v. Union PacificRailroad Company et al., we are likewise, indicating nothing in regard to any points that might have been raised for or against appellant herein as a guest.
Upon the authority of Whiffin v. Union Pacific RailroadCompany et al., ante, p. 141, 89 P.2d 540, the judgment is affirmed.
Costs awarded to respondents.
Ailshie, C.J., and Budge, J., concur.